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                   UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF COLORADO

  In re:

  BADLANDS ENERGY, INC.,                  Bankruptcy Case No. 17-17465 KHT
      Debtor.                             Chapter 11

  In re:

  BADLANDS PRODUCTION                     Bankruptcy Case No. 17-17467 KHT
  COMPANY,                                Chapter 11
      Debtor.

  In re:

  BADLANDS ENERGY-UTAH, LLC,              Bankruptcy Case No. 17-17469 KHT
      Debtor.                             Chapter 11

  In re:

  MYTON OILFIED RENTALS, LLC,             Bankruptcy Case No. 17-17471 KHT
      Debtor.                             Chapter 11

                                          Jointly Administered Under
                                          Case No. 17-17465 KHT
                                          Chapter 11


                                JUDGMENT

        Pursuant to and in accordance with the Findings of Fact and Conclusions
  of Law entered by the Honorable Kimberley H. Tyson, United States Bankruptcy
  Judge, on September 17, 2019,

        IT IS ORDERED, ADJUDGED AND DECREED the Motion to Enforce
  Order or in the Alternative to Request an Administrative Expense Claim filed by
  Monarch Midstream, LLC (at docket #479) is GRANTED IN PART and DENIED
  IN PART. To the extent Monarch seeks to enforce the terms of this Court’s
  Sale Order (at Docket #223) approving the Purchase and Sale Agreement
  between Badlands Production Company and Wapiti Utah, L.L.C., the Motion is
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  GRANTED. To the extent Monarch seeks an administrative claim against
  Badlands’ estate(s), that request is DENIED.

        IT IS FURTHER ORDERED Wapiti Utah, L.L.C. shall be responsible to
  pay the October 2017 POP fees to Monarch Midstream, L.L.C. in the amount
  of $54,255.87, plus accrued late fees.


  Dated: September 17, 2019.


 APPROVED AS TO FORM:                    FOR THE COURT:
                                         KENNETH S. GARDNER, CLERK


 Kimberley H. Tyson, Judge               Deputy Clerk




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